       Case 17-36259-KRH                     Doc 100 Filed 12/25/21 Entered 12/26/21 00:12:44                          Desc
                                           Imaged Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1              Sarah Lynne Wright                                           Social Security number or ITIN   xxx−xx−4223
                      First Name   Middle Name   Last Name                         EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of Virginia

Case number: 17−36259−KRH



Discharge of Debtor                                                                                                           12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Sarah Lynne Wright


           December 23, 2021                                              For the court:              William C. Redden
                                                                                                      Clerk


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




Official Form 318                                            Discharge of Debtor                                page 1
    Case 17-36259-KRH            Doc 100 Filed 12/25/21 Entered 12/26/21 00:12:44                Desc
                               Imaged Certificate of Notice Page 2 of 5




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Discharge of Debtor                          page 2
            Case 17-36259-KRH                     Doc 100 Filed 12/25/21 Entered 12/26/21 00:12:44                                               Desc
                                                Imaged Certificate of Notice Page 3 of 5
                                                              United States Bankruptcy Court
                                                               Eastern District of Virginia
In re:                                                                                                                 Case No. 17-36259-KRH
Sarah Lynne Wright                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0422-7                                                  User: bullockn                                                              Page 1 of 3
Date Rcvd: Dec 23, 2021                                               Form ID: 318                                                              Total Noticed: 30
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 25, 2021:
Recip ID                Recipient Name and Address
db                    + Sarah Lynne Wright, 4918 Banbridge Court, Richmond, VA 23228-6314
cr                    + DLJ Mortgage Capital, Inc., C/O Shapiro & Brown, LLP, 501 Independence Parkway, Suite 203, Chesapeake, VA 23320-5174
cr                    + Wilmington Savings Fund Society, FSB, d/b/a Christ, BWW Law Group, LLC, 8100 Three Chopt Rd, Suite 240, Richmond, VA
                        23229-4833
cr                    + Wilmington Savings Fund Society, FSB, d/b/a Christ, c/o BWW Law Group, LLC, 8100 Three Chopt Rd., Suite 240, Richmond, VA
                        23229-4833
14246550                Bon Secours, PO Box 1123, Minneapolis, MN 55440-1123
14177752              + DLJ Mortgage Capital, Inc., Select Portfolio Servicing, Inc, Po Box 65250, Salt Lake City, UT 84165-0250
14177743             ++ FOCUSED RECOVERY SOLUTIONS, 9701 METROPOLITAN COURT, STE B, RICHMOND VA 23236-3690 address filed with
                        court:, Focused Recovery Solutions, 9701-Metropolitan Ct, Ste B, Richmond, VA 23236-0000
14177744              + Horizon Fin, Attn: BSA & Fraud Dept, Po Box 800, Michigan City, IN 46361-0800
14177746             #+ Midwest Recovery Syste, Po Box 899, Florissant, MO 63032-0899
14204390                Navient Solutions, LLC on behalf of, Educational Credit Management, Corporation, PO BOX 16408, St. Paul, MN 55116-0408
14349876                Select Portfolio Servicing, Inc., P.O. Box 65250, Salt Lake City, UT 84165-0250
14396736              + Select Portfolio Svcing, Inc, Po Box 65250, Salt Lake City, UT 84165-0250
14177754              + St. Mary's Hospital, PO Box 549, Lutherville Timonium, MD 21094-0549
14177755              + TekCollect Inc, Po Box 1269, Columbus, OH 43216-1269

TOTAL: 14

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QPJBARRETT.COM
                                                                                        Dec 24 2021 04:13:00      Peter J. Barrett, Kutak Rock LLP, 341 Dial
                                                                                                                  866-861-8980 Code: 8499852, 901 East Byrd
                                                                                                                  Street, Suite 1000, Richmond, VA 23219-4071
cr                        Email/Text: bankruptcypgl@plaingreenloans.com
                                                                                        Dec 23 2021 23:11:00      Plain Green Loans, Attention: Special Handling,
                                                                                                                  93 Mack Rd, Suite 600, Box Elder, MT 59521
14177741               + EDI: CAPITALONE.COM
                                                                                        Dec 24 2021 04:13:00      Capital One, Attn: General
                                                                                                                  Correspondence/Bankruptcy, Po Box 30285, Salt
                                                                                                                  Lake City, UT 84130-0285
14177742               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Dec 23 2021 23:24:33      Credit One Bank Na, Po Box 98873, Las Vegas,
                                                                                                                  NV 89193-8873
14258000               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Dec 23 2021 23:24:38      Henrico Doctors Hospital, Resurgent Capital
                                                                                                                  Services, PO Box 1927, Greenville, SC
                                                                                                                  29602-1927
14259964                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Dec 23 2021 23:24:38      LVNV Funding, LLC its successors and assigns
                                                                                                                  as, assignee of MHC Receivables, LLC and,
                                                                                                                  FNBM, LLC, Resurgent Capital Services, PO Box
                                                                                                                  10587, Greenville, SC 29603-0587
            Case 17-36259-KRH                   Doc 100 Filed 12/25/21 Entered 12/26/21 00:12:44                                         Desc
                                              Imaged Certificate of Notice Page 4 of 5
District/off: 0422-7                                               User: bullockn                                                         Page 2 of 3
Date Rcvd: Dec 23, 2021                                            Form ID: 318                                                         Total Noticed: 30
14177745              + EDI: TCISOLUTIONS.COM
                                                                                   Dec 24 2021 04:13:00     Mid America Bk/total C, 5109 S Broadband Lane,
                                                                                                            Sioux Falls, SD 57108-2208
14177747              + Email/Text: mmrgbk@miramedrg.com
                                                                                   Dec 23 2021 23:11:00     Miramed Revenue Group, 991 Oak Creek Dr,
                                                                                                            Lombard, IL 60148-6408
14177748              + EDI: NAVIENTFKASMSERV.COM
                                                                                   Dec 24 2021 04:13:00     Navient, Attn: Bankruptcy, Po Box 9500,
                                                                                                            Wilkes-Barr, PA 18773-9500
14249118                 Email/Text: bankruptcypgl@plaingreenloans.com
                                                                                   Dec 23 2021 23:11:00     Plain Green Loans, 93 Mack Road, Suite 600, Box
                                                                                                            Elder, MT 59521
14196797              + Email/Text: joey@rmscollect.com
                                                                                   Dec 23 2021 23:11:00     Patient First c/o Receivables Management
                                                                                                            Systems, PO Box 8630, Richmond, VA
                                                                                                            23226-0630
14177750              + Email/Text: bankruptcypgl@plaingreenloans.com
                                                                                   Dec 23 2021 23:11:00     Plain Green Loans, 93 Mack Rd Ste 600, Po Box
                                                                                                            270, Box Elder, MT 59521-0270
14177751                 Email/Text: joey@rmscollect.com
                                                                                   Dec 23 2021 23:11:00     Receivable Management Inc, 7206 Hull Rd, Ste
                                                                                                            211, Richmond, VA 23235-0000
14177753              + EDI: SWCR.COM
                                                                                   Dec 24 2021 04:13:00     Southwest Credit Systems, 4120 International
                                                                                                            Parkway, Suite 1100, Carrollton, TX 75007-1958
14191540              + Email/PDF: OGCRegionIIIBankruptcy@hud.gov
                                                                                   Dec 23 2021 23:24:36     US Department of Housing & Urban
                                                                                                            Development, US Department of HUD, 451 7th
                                                                                                            Street S.W., Washington, DC 20410-0001
15123204              + Email/Text: bkteam@selenefinance.com
                                                                                   Dec 23 2021 23:11:00     Wilmington Savings Fund Society, FSB, c/o
                                                                                                            Selene Finance LP, 9990 Richmond Avenue, Suite
                                                                                                            400 South, Houston, TX 77042-4546

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr              *+            WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A CHRIST, BWW Law Group, LLC, 8100 Three Chopt Road, Suite
                              240, Richmond, VA 23229-4833
cr              *+            Wilmington Savings Fund Society, FSB, d/b/a Christ, BWW Law Group, LLC, 8100 Three Chopt Road, Suite 240, Richmond,
                              VA 23229-4833
14346271        *             DLJ Mortgage Capital, Inc., Select Portfolio Servicing, Inc., P.O. Box 65250, Salt Lake City, UT 84165-0250
14177749        ##+           NPAS, Inc., PO Box 99008, Bedford, TX 76095-9108

TOTAL: 0 Undeliverable, 3 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 25, 2021                                         Signature:          /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 23, 2021 at the address(es) listed
             Case 17-36259-KRH             Doc 100 Filed 12/25/21 Entered 12/26/21 00:12:44                                              Desc
                                         Imaged Certificate of Notice Page 5 of 5
District/off: 0422-7                                           User: bullockn                                                             Page 3 of 3
Date Rcvd: Dec 23, 2021                                        Form ID: 318                                                             Total Noticed: 30
below:
Name                         Email Address
James H. Wilson, Jr.
                             on behalf of Debtor Sarah Lynne Wright jameswilson29@gmail.com

Judy A. Robbins
                             USTPRegion04.RH.ECF@usdoj.gov

Malcolm Brooks Savage, III
                             on behalf of Creditor DLJ Mortgage Capital Inc. LOGSECF@logs.com

Mary F. Balthasar Lake
                             on behalf of Creditor DLJ Mortgage Capital Inc. LOGSECF@logs.com

Matthew Christopher Rawls
                             on behalf of Creditor DLJ Mortgage Capital Inc. matthew.rawls@bww-law.com, bankruptcy@bww-law.com

Matthew Christopher Rawls
                             on behalf of Creditor Wilmington Savings Fund Society FSB, d/b/a Christiana Trust, not individually but as trustee for Pretium
                             Mortgage Acquisition Trust matthew.rawls@bww-law.com, bankruptcy@bww-law.com

Matthew Christopher Rawls
                             on behalf of Creditor WILMINGTON SAVINGS FUND SOCIETY FSB, D/B/A CHRISTIANA TRUST, NOT
                             INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM MORTGAGE ACQUISITION TRUST matthew.rawls@bww-law.com,
                             bankruptcy@bww-law.com

Peter J. Barrett
                             peter.barrett@kutakrock.com charisse.matthews@kutakrock.com;pbarrett@ecf.axosfs.com


TOTAL: 8
